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 5   Attorney for Defendant
               JUAN PEREZ, JR.
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 8
                     IN THE UNITED STATES DISTRICT COURT
 9                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,          ) Case No. CR-F-08-00282 LJO
                                        )
12              Plaintiff,              )
                                        ) STIPULATION TO CONTINUE
13        vs.                           ) SENTENCING
                                        )
14   JUAN PEREZ, JR.,                   )
                                        ) Old Date: 09/04/09
15              Defendant.              )
                                        ) New Date: 10/08/09
16
                                          Time:        9:00 am
17
                                          Judge: Honorable LAWRENCE J.
18
                                          O’NEILL
19

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21
     TO: LAWRENCE J. O’NEILL, Federal District Court Judge, Eastern
22   District of California.
23
          PLEASE TAKE NOTICE that the parties hereby request that the
24   sentencing currently set for September 4, 2009 be continued to
25   October 8, 2009 at 9:00 a.m., in the courtroom of the Honorable
26   LAWRENCE J. O’NEIL.     This continuance is requested by all

27   parties as during the past month it has been very difficult for
     the parties to complete the pre-sentence report based on the
28
     vacation schedules of the pre-sentence officer, the AUSA and


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 1   defense counsel.      All parties are in agreement that the above
 2   date is best and suitable for all parties involved.
 3

 4   DATED:      July 22, 2009
                                         Respectfully submitted,
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 9                                       STEVEN L. CRAWFORD, Attorney for
                                         Defendant JUAN PEREZ, JR.
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11
     IT IS SO ORDERED:      Sentencing currently set for 9/4/09 has been
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     CONTINUED to 10/8/09 at 9:00am.
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14
     Dated: July 23, 2009
15
     /s/ Lawrence J. O’Neill
16   LAWRENCE J. O’NEILL, DISTRICT
     COURT JUDGE, EASTERN DISTRICT
17
     OF CALIFORNIA
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